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                                                            Our File No.: 115776

                                                                                        UNITED STATES DISTRICT COURT
                                                                                           DISTRICT OF NEW JERSEY
                                                                                              NEWARK DIVISION



                                                            Anthony Mezzo, individually and on behalf of all others      Docket No:
                                                            similarly situated,
                                                                                                                         CLASS ACTION COMPLAINT
                                                                                   Plaintiff,
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                          GARDEN CITY, NEW YORK 11530




                                                                                                                         JURY TRIAL DEMANDED
                                                                                        vs.

                                                            American Coradius International, LLC,

                                                                                  Defendant.


                                                                   Anthony Mezzo, individually and on behalf of all others similarly situated (hereinafter
                                                            referred to as “Plaintiff”), by and through the undersigned counsel, complains, states and alleges
                                                            against American Coradius International, LLC (hereinafter referred to as “Defendant”), as
                                                            follows:
                                                                                                    INTRODUCTION
                                                                   1.      This action seeks to recover for violations of the Fair Debt Collection Practices
                                                            Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
                                                                                                JURISDICTION AND VENUE
                                                                   2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                            and 15 U.S.C. § 1692k(d).
                                                                   3.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the
                                                            events or omissions giving rise to the claim occurred in this Judicial District.




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                                                                      4.    At all relevant times, Defendant conducted business within the State of New
                                                            Jersey.
                                                                                                         PARTIES

                                                                      5.    Plaintiff Anthony Mezzo is an individual who is a citizen of the State of New
                                                            Jersey residing in Somerset County, New Jersey.
                                                                      6.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                                      7.    On information and belief, Defendant American Coradius International, LLC, is a
                                                            New York Limited Liability Company with a principal place of business in Erie County, New
                                                            York.
                                                                      8.    Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                            owed by consumers.
                                                                      9.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
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                                                                                                     ALLEGATIONS
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                                                                      10.   Defendant alleges Plaintiff owes a debt (“the Debt”).
                                                                      11.   The Debt was primarily for personal, family or household purposes and is
                                                            therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                      12.   Sometime after the incurrence of the Debt, Plaintiff fell behind on payments
                                                            owed.
                                                                      13.   Thereafter, at an exact time known only to Defendant, the Debt was assigned or
                                                            otherwise transferred to Defendant for collection.
                                                                      14.   In its efforts to collect the debt, Defendant contacted Plaintiff by letter (“the
                                                            Letter”) dated May 25, 2018. (“Exhibit 1.”)
                                                                      15.   The Letter was the initial communication Plaintiff received from Defendant.
                                                                      16.   The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).

                                                                                                    FIRST COUNT
                                                                                       Violation of 15 U.S.C. §§ 1692e and 1692g

                                                                      17.   Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                      18.   The Letter provided a toll free telephone number to call.
                                                                      19.   The Letter provided a mailing address for payments.



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                                                                   20.     The Letter states “If you wish to discuss this offer, please contact our office at 1-
                                                            855-224-3009.”
                                                                   21.     15 U.S.C. §1692g(a)(3) requires to debt collector to: “Within five days after the
                                                            initial communication with a consumer in connection with the collection of any debt . . . send the
                                                            consumer a written notice containing — a statement that unless the consumer, within thirty days
                                                            after receipt of the notice, disputes the validity of the debt, or any portion thereof, the debt will
                                                            be assumed to be valid by the debt collector.”
                                                                   22.     In this Circuit, a dispute of a debt, to be effective, must be in writing. See
                                                            Caprio v. Healthcare Revenue Recovery Grp., LLC, 709 F.3d 142 (3d Cir. 2013).
                                                                   23.     The Letter stated, in part: “Unless you notify this office within 30 days after
                                                            receiving this notice that you dispute the validity of this debt or any portion thereof, this office
                                                            will assume this debt is valid.”
                                                                   24.     The failure to provide a proper 15 U.S.C. §1692g(a)(3) notice is a violation of the
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                                                            FDCPA.
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                                                                   25.     A debt collector has the obligation not just to convey the 15 U.S.C. §1692g(a)(3)
                                                            notice, but also to convey such clearly.
                                                                   26.     Even if a debt collector conveys the required information, the debt collector
                                                            nonetheless violates the FDCPA if it conveys that information in a confusing or contradictory
                                                            fashion so as to cloud the required message with uncertainty.
                                                                   27.     The Letter fails to properly inform the least sophisticated consumer that to
                                                            effectively dispute the alleged debt, such dispute must be in writing.
                                                                   28.     Conversely, the Letter encourages Plaintiff to call Defendant.
                                                                   29.     The Letter discourages written disputes, only providing a mailing address for
                                                            payments.
                                                                   30.     The least sophisticated consumer upon reading the Letter would likely be
                                                            confused as to what she must do to effectively dispute the alleged debt.
                                                                   31.     The least sophisticated consumer upon reading the Letter would likely be unsure
                                                            as to what she must do to effectively dispute the alleged debt.
                                                                   32.     The Letter did not convey the 15 U.S.C. §1692g(a)(3) notice clearly from the
                                                            perspective of the least sophisticated consumer.
                                                                   33.     The Letter did not adequately set forth the 15 U.S.C. §1692g(a)(3) notice.



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                                                                   34.     The Letter, because of the aforementioned failures, violates 15 U.S.C.
                                                            §1692g(a)(3). See Cadillo v. Stoneleigh Recovery Assocs., LLC, No. CV 17-7472-SDW-SCM,
                                                            2017 WL 6550486 (D.N.J. Dec. 21, 2017), motion to certify appeal denied, No.
                                                            CV177472SDWSCM, 2018 WL 702890 (D.N.J. Feb. 2, 2018).
                                                                   35.      15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
                                                            misleading representation or means in connection with the collection of any debt.
                                                                   36.     While Section 1692e specifically prohibits certain practices, the list is non-
                                                            exhaustive, and does not preclude a claim of falsity or deception based on any non-enumerated
                                                            practice.
                                                                   37.     A collection letter violates 15 U.S.C. § 1692e if it can reasonably be read by the
                                                            least sophisticated consumer to have two or more meanings, one of which is inaccurate.
                                                                   38.     A collection letter is also deceptive under 15 U.S.C. § 1692e if it is reasonably
                                                            susceptible to an inaccurate reading by the least sophisticated consumer.
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                                                                   39.     15 U.S.C. § 1692e(10) specifically prohibits the “use of any false representation
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                                                            or deceptive means to collect or attempt to collect any debt.”
                                                                   40.     The question of whether a collection letter is deceptive is determined from the
                                                            perspective of the “least sophisticated consumer.”
                                                                   41.     The least sophisticated consumer upon reading the Letter would likely be misled
                                                            into believing that if she wished to effectively dispute the Debt she may notify Defendant by
                                                            calling the telephone number listed, or write to Defendant at the address listed.
                                                                   42.     The least sophisticated consumer would likely be confused concerning whether,
                                                            to dispute the debt, she may notify Defendant by calling the telephone number listed, or write to
                                                            Defendant at the address listed.
                                                                   43.     The least sophisticated consumer would likely be uncertain concerning whether,
                                                            to dispute the debt, she may notify Defendant by calling the telephone number listed, or write to
                                                            Defendant at the address listed.
                                                                   44.     The least sophisticated consumer would likely be uncertain as to her rights.
                                                                   45.     The least sophisticated consumer would likely be confused as to her rights.
                                                                   46.     Because the Letter can reasonably be read by the least sophisticated consumer to
                                                            have two or more meanings, one of which is inaccurate, as described, it is deceptive within the
                                                            meaning of 15 U.S.C. § 1692e.



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                                                                      47.   Because the Letter is reasonably susceptible to an inaccurate reading by the least
                                                            sophisticated consumer, as described, it is deceptive within the meaning of 15 U.S.C. § 1692e.
                                                                      48.   The least sophisticated consumer would likely be deceived by the Letter.
                                                                      49.   The least sophisticated consumer would likely be deceived in a material way by
                                                            the Letter.
                                                                      50.   Defendant violated § 1692e by using a false, deceptive and misleading
                                                            representation in its attempt to collect a debt.
                                                                      51.   The Letter, because of the aforementioned failures, violates 15 U.S.C. § 1692e.
                                                            See Cadillo v. Stoneleigh Recovery Assocs., LLC, No. CV 17-7472-SDW-SCM, 2017 WL
                                                            6550486 (D.N.J. Dec. 21, 2017), motion to certify appeal denied, No. CV177472SDWSCM,
                                                            2018 WL 702890 (D.N.J. Feb. 2, 2018).

                                                                                                 CLASS ALLEGATIONS
                                                                      52.   Plaintiff brings this action individually and as a class action on behalf of all
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                                                            persons similarly situated in the State of New Jersey from whom Defendant attempted to collect a
                                                            consumer debt using a letter substantially similar to the letter complained of herein, from one year
                                                            before the date of this Complaint to the present.
                                                                      53.   This action seeks a finding that Defendant’s conduct violates the FDCPA, and
                                                            asks that the Court award damages as authorized by 15 U.S.C. § 1692k.
                                                                      54.   Defendant regularly engages in debt collection.
                                                                      55.   The Class consists of more than 35 persons from whom Defendant attempted to
                                                            collect delinquent consumer debts using a letter substantially similar to the letter complained of
                                                            herein.
                                                                      56.   Plaintiff’s claims are typical of the claims of the Class. Common questions of law
                                                            or fact raised by this class action complaint affect all members of the Class and predominate over
                                                            any individual issues. Common relief is therefore sought on behalf of all members of the Class.
                                                            This class action is superior to other available methods for the fair and efficient adjudication of
                                                            this controversy.
                                                                      57.   The prosecution of separate actions by individual members of the Class would
                                                            create a risk of inconsistent or varying adjudications with respect to the individual members of
                                                            the Class, and a risk that any adjudications with respect to individual members of the Class



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                                                            would, as a practical matter, either be dispositive of the interests of other members of the Class
                                                            not party to the adjudication, or substantially impair or impede their ability to protect their
                                                            interests. Defendant has acted in a manner applicable to the Class as a whole such that
                                                            declaratory relief is warranted.
                                                                    58.    Plaintiff will fairly and adequately protect and represent the interests of the Class.
                                                            The management of the class action proposed is not extraordinarily difficult, and the factual and
                                                            legal issues raised by this class action complaint will not require extended contact with the
                                                            members of the Class, because Defendant’s conduct was perpetrated on all members of the Class
                                                            and will be established by common proof. Moreover, Plaintiff has retained counsel experienced
                                                            in actions brought under consumer protection laws.


                                                                                                    JURY DEMAND

                                                                    59.    Plaintiff hereby demands a trial of this action by jury.
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                                                                                                PRAYER FOR RELIEF
                                                                   WHEREFORE, Plaintiff respectfully requests judgment as follows:

                                                                                       a. Certify this action as a class action; and

                                                                                       b. Appoint Plaintiff as Class Representative of the Class, and
                                                                                       Plaintiff’s attorneys as Class Counsel; and

                                                                                       c. Find that Defendant’s actions violate the FDCPA; and

                                                                                       d. Grant damages against Defendant pursuant to 15 U.S.C. § 1692k;
                                                                                       and

                                                                                       e. Grant Plaintiff’s attorneys’ fees pursuant to 15 U.S.C. § 1692k;
                                                                                       and

                                                                                       f. Grant Plaintiff’s costs; together with

                                                                                       g. Such other relief that the Court determines is just and proper.




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                                                            DATED: August 2, 2018

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